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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                LITTLE ROCK DIVISION


UNITED STATES OF AMERICA

VS.                                  4:05CR00014-02 GH/JTR

TAMMIE MCFARLIN


                                               ORDER

        After conducting a hearing and receiving testimony on the United States’ Motion to Revoke

Conditions of release, the Court imposes the following special conditions on Pinkey McFarlin and

Tammie McFarlin (hereinafter referred to collectively as the “McFarlins”):

        1.     The McFarlins shall have no contact or communication of any kind with Deborah

Johnson or any member of Ms. Johnson’s family.

        2.      No agent or third party (other than the McFarlins’ attorneys), acting on behalf of the

McFarlins, shall have any contact or communication with Deborah Johnson. No agent or third party,

acting on behalf of the McFarlins, shall have any contact or communication with any member of

Deborah Johnson’s family.

        3.      The McFarlins shall not get within 300 feet of Deborah Johnson. The only exception

to this condition is as follows: If the McFarlins’ criminal cases proceed to trial, this condition shall

not apply during the time that Deborah Johnson is in the Richard S. Arnold United States Courthouse

and Annex to testify.

        IT IS SO ORDERED this 4th day of May, 2006.


                                                        UNITED STATES MAGISTRATE JUDGE
